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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
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      24-12008

      Fulcrum BioEnergy, Inc.




      Case Type :                       bk
      Case Number :                     24-12008
      Case Title :                      Fulcrum BioEnergy, Inc.
      Judge :                           Thomas M. Horan
      Courtroom :                       3rd Floor Courtroom 7, Wilmington, DE
      Audio Date\Time :                 9/12/2024 11:08:40 AM
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